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    Exhibit 12
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   Transcript of Lars Christianson,
     Designated Representative
                             Date: June 26, 2018
Case: UMG Recordings, Inc., et al. -v- Grande Communications Networks, LLC, et
                                        al.




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                            Transcript of Lars Christianson, Designated Representative                        31 (121 to 124)

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1    his testimony and the document. Just caution the           1    produced by Grande in this case, right?
2    witness not to speculate.                                  2      A. Yes.
3    BY MR. O'BEIRNE:                                           3      Q. Bates number ending 522 [sic]?
4      Q. Do you have any doubt that your e-mail is             4      A. Yes.
5    saying ''The Court's decision is an interesting            5      Q. And it is an e-mail chain also
6    read," with the link after it, is sending him the          6    February 26, 2016. Do you see that?
7    link to the Court's decision?                              7         MR. BROPHY: Sorry, Counsel. 522? Do you
8      A. No. I'm sending him the Court's decision.             8    mean 523 ? The document I have has Bates number
9      Q. Right. Was it your practice at the time               9    GRANDE1438523.
10   to try to stay apprised of developments in the law         10        MR. O'BEIRNE: Sorry, let me see the top
11   regarding the DMCA safe harbor?                            11   of it. Thank you, Counsel. My apologies.
12     A. No.                                                   12   BY MR. O'BEIRNE:
13     Q. Do you recall reading the Court decision?             13     Q. 523.
14     A. I don't. I'm not even sure what this is               14     A. Yes.
15   referring to.                                              15     Q. And PXl 79, ending in Bates 523 , is also an
16     Q. I take it, then, you don't recall this                16   e-mail chain from February 2016, right?
17   exchange?                                                  17     A. Yes.
18     A. No. I mean, clearly it took place, but I              18     Q. From February 22nd, right?
19   don't remember what it was even about.                     19     A. Yes.
20     Q. If you can flip back, just to orient                  20     Q. And in your original e-mail to Mr. Quigley
21   ourselves, we looked at a handful of e-mails this          21   and Mr. Horton, you have the subject 'Digital
22   morning that were from the February 2016 time              22   Rightscorp fixed." Do you see that?
23   frame. Do you recall that?                                 23     A. Yes.
24     A. Yes.                                                  24     Q. Before we look at the e-mail in more
25     Q. So for example, if you turn back to PXl 78 ,          25   detail, do you recall a time where you fixed the
                                                          122                                                            124
1    which was the document you reviewed in your                1    abuse system's parsing of e-mails from Rightscorp?
2    preparations, it's an e-mail chain from                    2      A. Yes.
3    February 18th, 2016. Do you see that?                      3      Q. Please describe what you remember about
4      A. Yes.                                                  4    that.
5      Q. As is PX82, which was the                             5      A. The -- at some point, the -- and I don't
6    Rightscorp-specific count in your e-mail. Do you           6    know when, the e-mail format changed and the media
7    see that?                                                  7    title was no longer getting added into the record.
8      A. Yes.                                                  8    It was still available in the body, but it wasn't
9      Q. And then February 22nd is PXl 07?                     9    in the record. So I updated the system so that
10     A. Uh-huh.                                               10   the media title would be in the record.
11     Q. Okay. Do you see that, right? Do you see              11     Q. How would the absence of a media title
12   that?                                                      12   affect, if at all, the system's parsing of the
13     A. PX82, PXl 78 and PX107.                               13   notice?
14     Q. They're all February 2016?                            14     A. I would think it wouldn't. It was just
15     A. Okay.                                                 15   missing the title information in that table. So I
16     Q. You would agree with me , right?                      16   corrected it so that the title would -- the title
17     A. Yes.                                                  17   of the work would be included in the column row.
18     Q. Okay. And the last one I hand-marked is               18     Q. So Grande was receiving the title of the
19   178, right? There's no 179?                                19   work information, it just wasn't making its way
20     A. Yes, 178.                                             20   through the parsing of the system?
21        (Deposition Exhibit 179 marked for                    21     A. As far as I understand, they were being
22   identification.)                                           22   parsed correctly, it's just that the title of the
23   BY MR. O'BEIRNE:                                           23   work was not being passed.
24     Q. I'm handing you what I've just marked as              24     Q. But correct parsing would've included --
25   PXl 79. You would agree with me this is a document         25     A. The title of the work.
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                           Transcript of Lars Christianson, Designated Representative                       32 (125 to 128)

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1      Q. -- the title of the work?                            1    Q. So the information was there, you were
2      A. Yes.                                                 2 just updating Grande's system to correctly get the
3      Q. And the fix you made --                              3 information and parse it?
4      A. Added the title.                                     4    A. Yes.
5      Q. -- added the title? But your testimony,              5    Q. Did you reach out to Rightscorp at this
6    based on your recollection today, is that the             6 time to discuss with them the content of their
7    notices were getting parsed, just that the media          7 notices?
8    title field was blank after the parsing?                  8    A. I don't know.
9      A. Yes.                                                 9    Q. Sitting here today, do you have any
10     Q. Do you recall how you became aware of                10 recollection of reaching out to Rightscorp at any
11   this?                                                     11 time to discuss the contents of their notices?
12     A. I believe we became aware of it when we              12 A. That's a vague question. Do you mean me
13   started running some of the SQL queries around            13 or do you mean anybody at Grande?
14   that same time.                                           14 Q. Let's start with you.
15     Q. The ones we've already looked at?                    15 A. No, I did not reach out to Rightscorp.
16     A. Yes.                                                 16 Q. At any time --
17     Q. How many notices we get from Rightscorp at           17 A. No.
18   agiventime?                                               18 Q. -- in your life?
19     A. Yes.                                                 19 A. No.
20     Q. And so this was not something you noticed            20 Q. Do you know of anybody at Grande ever
21   otherwise in the normal course of just monitoring         21 reaching out to Rightscorp --
22   the system; you recall this being precipitated by         22 A. I do not, no.
23   the specific squirrel [sic] queries?                      23 Q. -- to discuss -- sorry, I paused and
24     A. Yes.                                                 24 enticed you to answer. Let's try again.
25     Q. Did I say that right, squirrel? Is that              25     Do you recall -- strike that.
                                                         126                                                             128
1 the --                                                       1        Do you know of anybody at Grande ever
2    A. SQL.                                                   2    reaching out to Rightscorp to discuss the content
3    Q. SQL. Squirrel. Sorry. SQL queries. So                  3    ofRightscorp's notices?
4 just to clean that up, because squirrel doesn't              4      A. I don't know that information.
5 enter into this. It's your recollection that the             5      Q. Meaning you're not aware of that ever
6 SQL queries that we've already looked at being run           6    happening?
7 for Rightscorp-specific information precipitated             7      A. I am not aware of that.
8 this review of the glitch regarding the media                8      Q. Or to discuss the origin of any notice
9 title and the parsing?                                       9    claiming to be from Rightscorp?
10 A. Yes.                                                     10     A. I do not know that.
11 Q. And you said in your e-mail, ''I am now                  11     Q. By you don't know, you mean you're unaware
12 adding the file name in question to the event."             12   of any facts that any person at Grande ever
13 A. Yes.                                                     13   reached out to Rightscorp?
14 Q. Okay. How manually would you go about                    14       MR. BROPHY: Objection, vague.
15 doing that?                                                 15       You can answer.
16 A. I wouldn't go about it manually. I                       16     A. I'm unaware of any contact to Rightscorp.
17 changed the -- okay. I went into the e-mails that           17   BY MR. O'BEIRNE:
18 were not parsing properly and looked for what the           18     Q. Bear with me for a second.
19 code was looking for, which is usually a term like          19       (Deposition Exhibit 180 marked for
20 work, name of work or IP address or date time.              20   identification.)
21 And I would correct to the new format, so that              21   BY MR. O'BEIRNE:
22 when the SQL -- or when the scripts would run               22     Q. I'm handing you what I've just marked as
23 against new e-mails as they would come through,             23   PXl 80. You would agree with me this is a document
24 they would correctly grab that information and              24   produced by Grande in this case?
25 parse it into the ticket.                                   25     A. Yes.
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                             Transcript of Lars Christianson, Designated Representative                      33 (129 to 132)

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1     Q. And this one does end in Bates number 522?            1    out?
2     A. Yes.                                                  2     A. Possibly.
3     Q. And this is a response from Mr. Horton to             3      Q. Do you recall trying to do so?
4 your e-mail regarding fixing the glitch, right?              4      A. I mean, I remember fixing the glitch. I
5     A. Yes.                                                  5    don't remember really much what happened after it.
6     Q. And he asks you, "Can we tell when this               6    I mean...
7 changed or when this issue started?"                         7      Q. How would you go about determining
8       Do you see that?                                       8    whether, prior to fixing the glitch in Grande's
9     A. Yes.                                                  9    system, letters were generated based on the
10 Q. Do you recall being able to determine when               10   notices from Digital Rightscorp's e-mail address?
11 it had started?                                             11     A. I would think we would have to talk to the
12 A. I don't recall looking for that                          12   owner of that process.
13 information.                                                13     Q. Who is that?
14      (Deposition Exhibit 181 marked for                     14     A. That would probably be the billing team at
15 identification.)                                            15   that point. I don't know for sure.
16 BY MR. O'BEIRNE:                                            16     Q. Whomever was in charge of the actual
17 Q. I'm handing you what I've just marked as                 17   sending of the letters?
18 PXl 81. You'd agree this is a document produced by          18     A. Yes.
19 Grande?                                                     19     Q. But is it your understanding that's
20 A. Yes.                                                     20   information that Grande could determine if it went
21 Q. And it is your response to Mr. Horton's                  21   to look for it?
22 e-mail from PXl 80. Do you see that?                        22        MR. BROPHY: Objection, calls for
23 A. Yes.                                                     23   speculation.
24 Q. And you explain to him, 'Until the fix I                 24     A. I have no idea.
25 just implemented, I can't find a record where it            25
                                                         130                                                             132
1    worked."                                                  1    BY MR. O'BEIRNE:
2         Do you see that?                                     2      Q. You'd agree with me that's the response
3      A. Yes.                                                 3    you sent February 22nd, 2016? You see that,
4      Q. You go on to say, ''I think when the system          4    right?
5    was built, this flaw was present. Or, when these          5      A. For 524?
6    e-mails were added to that parsing section of the         6      Q. Yes.
7    script, it wasn't vetted properly."                       7      A. Yeah, I agree.
8         Do you see that?                                     8      Q. PX181.
9      A. Sure. Yes.                                           9      A. Yes, I agree.
10     Q. That's an accurate description of what you           10        (Deposition Exhibit 182 marked for
11   determined at the time, right?                            11   identification.)
12     A. Yes. Well -- yes, that is an accurate                12   BY MR. O'BEIRNE:
13   description.                                              13     Q. Handing you what I've just marked as
14     Q. Are you talking about just the media                 14   PXl 82. This is a document produced by Grande in
15   title --                                                  15   this case, right?
16     A. Yes.                                                 16        (Witness reviews document.)
17     Q. -- portion of the parsing --                         17   BY MR. O'BEIRNE:
18     A. Yes.                                                 18     Q. Sir, this is a document produced by
19     Q. -- right? Sitting here today, are you                19   Grande?
20   aware of whether or not Grande was generating             20     A. Yes.
21   letters as a result of the information parsed             21     Q. And if you look back at PXl 79, Mr. Horton
22   through the abuse process for the Rightscorp              22   had sent an e-mail to you and Mr. Quigley asking,
23   notices prior to this fix of the glitch?                  23   "Jimmy - Matt wants to know how many letters we
24     A. I don't know either way.                             24   have sent throughout 2015 and year-to-date 2016 by
25     Q. Did anybody ever ask you to figure that              25   DMCAEntity source."
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